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                               UNITED STATES DISTRICT COURT
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                CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
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10   UNITED STATES OF AMERICA,                       Case No. EDCR 18-00066-JGB
11                Plaintiff,                         **AMENDED JUDGMENT AND
                                                     COMMITMENT ORDER
12         v.                                        FOLLOWING REVOCATION OF
                                                     SUPERVISED RELEASE
13   LISA MARIE CANO,
14                Defendant.
15
16         This matter arises from a Judgment and Probation/Commitment order issued by
17   this Court on July 15, 2019.
18         On September 18, 2020, the matter came on for hearing on the Petition for
19   Revocation of Supervised Release, filed on November 12, 2019, (“Petition”), in the
20   Central District of California. Deputy Federal Public Defenders Jelani Lindsey and
21   Callie Steele appeared on behalf of the Defendant. Assistant United States Attorney
22   Edward Han appeared for the Government. United States Probation and Pretrial
23   Services Officer Ashley Ross was also present. The Defendant was informed of the
24   Allegations as set forth in the Petition. The Defendant acknowledged receiving a copy
25   of the Petition, and thereafter admitted that the violations as alleged in Allegations One,
26   Three and Four were truthful, and that she committed the violations as alleged.
27         The Court accepted the admissions as to the Allegations as knowingly,
28   voluntarily, and intelligently made, and found the Defendant in violation of the terms
1    and conditions of her Supervised Release, as set forth in the Judgment and
2    Probation/Commitment Order imposed by this Court on July 15, 2019.
3          IT IS THE JUDGMENT OF THE COURT, that Defendant LISA MARIE
4    CANO is hereby committed to the custody of the Bureau of Prisons for a term of
5    TWELVE (12) MONTHS, to be followed by Supervised Release for a term of
6    TWENTY-FOUR (24) MONTHS upon the same terms and conditions previously
7    imposed, with the following additional special condition:
8          1. The offender shall participate in an outpatient substance abuse treatment and
9             counseling program that includes urinalysis, breath and/or sweat patch testing,
10            as directed by the United States Probation and Pretrial Services Officer. The
11            offender shall abstain from using alcohol and illicit drugs, and from abusing
12            prescription medications during the period of supervision.
13         The Defendant is informed of her right to appeal.
14         Upon the Government’s motion, Allegation Two is dismissed in the interest of
15         justice.
16         **The Court recommends to the Bureau of Prisons (“BOP”) that Lisa Marie
17         Cano serve her sentence at either FCI Victorville Medium II or the adjacent
18         satellite camp, FCI Dublin or the adjacent satellite camp, FCI Phoenix or the
19         adjacent satellite camp, or FCI Tucson.
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21   DATED: October 19, 2020
22                                         HONORABLE JESUS G. BERNAL
                                           UNITED STATES DISTRICT JUDGE
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24   CLERK, U.S. DISTRICT COURT
25   By: _____________________________
     Maynor Galvez / Noe U. Ponce
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     Courtroom Deputy Clerks
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